UNITED STATES DIS_TRICT COURT
Case 2:04-cr-20136-BBD Document BYOrFl|ed 07/05/05 Page 1 of 5 Page|D 4

WESTERN DISTRIC'I` OF TENNESSEE
Fll.ED EIY »_..__ D-G-

U.S.A. vs.Natasha Renee Donelly 04020 1540 Doclf§§t `lj`lljt;‘ Z:E(')4€‘.l`129{:136-02

Petition on Probation and Supervised Release
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CoMEs Now Dawn L. Br@wn ,PRoBATloN 0FFICER oF THE Coul$‘:l': lazar _F".;'Wcial
report upon the conduct and attitude of Natasha Renee Donelly who Was placed on supervi dri‘by"tlfe'”liionorable
Bernice B. Donald sitting in the Court at Memphis, TN , on the 28th day of Septernber 2004, who fixed the
period of Probation at one g 1 lyear *, and imposed the general terms and conditions theretofore adopted by the Court

and also imposed special conditions and terms as follows:

 

l. The defendant shall participate as directed in a program (outpatient and/or inpatient) approved by the
Probation Officer for the testing and treatment of narcotic addiction or drug or alcohol dependency. Further,
the defendant shall be required to contribute to the costs of services for such treatment not to exceed an
amount determined reasonable by the Probation Off`lce.

2. The defendant shall participate as directed in a program of mental health treatment approved by the
Probation OHicer. Further, the defendant shall be required to contribute to the costs of services for such

treatment not to exceed an amount determined reasonable by the Probation Off`lcer.

3. The defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or
making an obligation for any maj or purchases without approval of the Probation Off'lcer.

4. The defendant shall provide the Probation Officer access to any requested financial information
5. The defendant shall make restitution in the amount of $741 .88. (Balance $741.88).
* Probation began September 28, 2004 in the ED/AR.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
See Attached

PRAY]NG ']`HAT THE COURT WILL ORDER a SUMM()NS be issued for Natasha Renee Donelly to appear
before the United States District Court to answer charges of violation of her Probation .

ORDER OF COURT I declare under penalty of perjury that the
foregoing is true and correct

Considered and ordered / Yl/* day Execut d '
of s 20 _C and ordered On g~§, Q,OO-§/

filed m a part of the record in
in the above case.

  
 

U ite States P ba on Officer

   
     
  

 

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RE: Natasha Renee Donelly
l)ocket No: 2:04CR20136-02
Probation Form 12
Page 2

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
The defendant, Natasha Renee Donelly, has violated the following conditions of her Probation

The defendant shall participate in substance abuse treatment and testing as deemed appropriate by the
Probation Office.

On October 25, 2004, the defendant was referred to Counseling Services of Eastern Arkansas for drug treatment
and testing The defendant failed to attend counseling session on February l l, February 18, March 7, March 14 and
April l l, 2005. The defendant also failed to submit to drug screening on thirteen (13) occasions between November

l ], 2004 and May 17, 2005.

The defendant shall work regularly at lawful occupations unless excused by the Probation Officer for
Schooling training or other acceptable reasons.

Since beginning her supervision in the Eastem Distn`ct ofArkansas on September 28, 2004, the defendant has failed
to secure employment

The defendant shall make restitution on the amount of $741.88.

As of June ]0, 2005, the defendant has made no payments towards her restitution.

10.

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VIOLATION WORKSHEET

Defendant Natasha Renee Done|ly, (305 South 19"‘ Street, West Nlemphis, AR 72304)

Docket Number (Year-Sequence-Defendant 2:04CR20136-02
No.)

 

District.lOffice Western District of Tennessee (Nlemphis)

Originai Sentence Date
C_}_Q month §§ day 2004 year

Original
Districtl'Office

 

Originai Docket Number (Year-Sequence-Defendant
No.)

 

List each violation and determine the applicable grade {see §7B1.1}:

 

 

 

 

Violationjs{

Grade
Non*Compliance with Drug Treatment C
Failure to secure employment C
Failure to make restitution payments C
Most Serious Grade of Vio|ation {B §781 .1(b)) C
Criminal History Category (§e_e §751.4(a))74 l
Range of imprisonment (B §7B1.4(a)) 3 - 9 months

 

 

 

Having been convicted of a C]ass D Felony, the Statutory Maximum term ot`imprisonment is 24 months; U.S.C. § 3583(e)(3).

11.

Sentencing Options for Grade B and C Vio|ations Only (Check the appropriate box):

{x} (a)lf the minimum term of imprisonment determined under §7B1.4 (Term of lmprisonment) is at least

one month but not more than six months1 §781 .3©)(1) provides sentencing options to imprisonment

{} (b)lf the minimum term of imprisonment determined under §7B1.4 (Term of lmprisonment) is more
than six months but not more than ten months, §731.3©)(2) provides sentencing options to
imprisonmentl

{} (c)lf the minimum term of imprisonment determined under §781.4 (Term of lmprisonment) is more

than ten months, no sentencing options to imprisonment are available

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DEFENDANT: Natasha Renee Donelly

12. Unsatisfied Conditions ol` Original Sentence

List any restitution, fine, community confinement home detention, or intermittent confinement previously imposed
in connection with the sentence for which revocation is ordered that remains unpaid or unserved at the time of
revocation {see §7B‘i .3(d)}:

 

 

 

 

Restitution ($)741_88 Community Confinement NfA

Fine($) N/A Home Detention NIA

Other NIA intermittent Confinement NIA
13. Supervised Release

if probation is to be revokedl determine the lengthl if any, of the term of supervised release according to the
provisions of §§5D1.‘l-1.3{see §§7B‘l.3(g)(1)}.

Term: to years
lf supervised release is revoked and the term of imprisonment imposed is less than the maximum term of
imprisonment impossible upon revocation, the defendant may, to the extent permitted by law, be ordered to

recommence supervised release upon release from imprisonment {see 18 U.S.C. §3583(e) and §7B1.3(g)(2)}.

Period of supervised release to be served following release from imprisonment

14. Departu re

List aggravating and mitigating factors that may warrant a sentence outside the applicable range of
imprisonment

 

 

15. Official Detention Adjustment §_93§151.3(6)}: months days

Mail documents to: United States Sentencing Commission, 1331 Pennsy|vania Avenue, N.W.
Suite1400,Washington,D.C.,20004,Attention: Monitoring Unit

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20136 was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

ENNESSEE

 

PDA

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Honorable Bernice Donald
US DISTRICT COURT

